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lN THE UNlTED STATES DISTRICT COURT FOR Tl-F l L E D

WESTERN DISTRICT OF OKLAHOMA MAY * 7 2003

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ANDREW W. MARR, JR., ET AL., § §

 

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Plaintiffs, )
V. ) NO. ClV-O3-O500--HE
)
HAROLD H. HOLDEN, ET AL., )
) s'""‘z _-*-\
Defendants. ) i_"_}-; :?""m`g”:f'
ORDER

This case comes before the Court on the motion to dismiss of defendant Mclvin R.
Robinson. Like plaintiffs’ complaint, the motion is filed pro Se.

Although Mr. Robinson’s motion is technically deficient in certain respects,l he
alleges the complaint fails to state a claim. Fed.R.Civ.P. lZ(b)(é). The Cou.rt has reviewed
plaintiffs’ complaint in some detail and concludes that the complaint does, indeed, fail to
state a claim. Mr. Robinson’s motion to dismiss is GRANTED. Further, the case is
DISMISSED in its entirety_

Although plaintiffs’ pro se complaint is confusing in many respects,2 the essence of

their claim or claims is clear. A dispute arose between plaintiff l\/larr3 and others in 1995 in

 

' See Local Rules j.l and 7.2.

2 Pro Se pleadings are held 10 less stringent standards than formal pleadings drafted by
lawyers Haines v. Kerner 404 U.S. 519, 520-21 (]972).

 

jAlfhoagh there are two plaintiffs Andrew Marr, .]r. and BioCon, [nc., references to
“plaintwp" will he to Mr. Marr.

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connection with a “thermal reactor prototype,” a device apparently designed by plaintiff for
the purpose of disposing of medical or other waste. incident to the dispute, plaintiff
apparently took possession of the device and moved it to a location in Warr Acres,
Oklahoma. Thereafter, during September of 1995, the device was taken by someone from
the Warr Acres location. Criminal complaints were filed at that time by pl_aintiff, alleging
theft of the device Apparentlythe device was located in Ardmore, Oklahoma, and extensive
litigation then ensued between plaintiff and various others, principally including defendant
Harold Holden.“ The disputes apparently included ownership of the device and the various
rights of the parties as to it.

Plaintiffs now characterize their claims as ones for patent theft, patent infringement,
or civil rights violations and seeks to invoke the jurisdiction of the federal courts on that
basis. For present purposes, the specific nature of the underlying claims is not as important
as their timing. Plaintiffs’ complaint makes clear the events giving rise to their claim or

claims occurred in 1995 and 1996, with some of the litigation related to them extending into

 

4 The complaint alleges the following civil suits were filed in state district court, Carter
County, Olclahoma.' No. CJ-95--404, No. CJ-96-] 76, No. CJ-95-565, NO. CJ-95-404', No. CF-96-342,
No. CM-98-820, and No. CJ-97-2 794. Plainti]f also commenced a civil action in this court in 1996,
alleging patent infringement claims against Harold Holden, Scott Holden and Environmental
Thermal S_vstems, lnc., who are also defendants in this case. Case No. CV-96-1'859. T he Court ’s
administrative closing order suggests the case was settled. The order indicated the case would be
deemed dismissed with prejudice absent a further filing by a party. No such filing occurred by May
28, 1997, the (once extended) date set by the order. Plaintiff’s complaint also alludes to a more
recent 2002 fling in the District Court of Carter County, State of Oklahoma, termed a “RIC`O
action " by plaintgf, referring to the same underlying events as those set forth in plaintijf's current
complaint

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1997. Thus, at least seven years has transpired since the events upon which plaintiffs now
base their case.

Regardless of whether this case is deemed one for theft of patented equipment, patent
infringement, a civil rights or RlCO5 violation1 the applicable statute of limitations has run.
See 12 ()kla. Stat. § 95(3) (two year limitations period for injury to the rights of another not
arising on contract);0 78 Okla. Stat. § 91 (three year statute of limitations for
misappropriation of trade seerets); 35 U.S.C. § 286 (six year limitations period for patent
infringement claims); 12 Okla. Stat. § 95(3) (two year limitations period for § l983 actions
in Oklahoma); Whitnev v. New Mexico Guarantee Student Loan Agencv, 105 F.3d 670 ( l 'Dth
Cir. .lan. ii, 1997)7 (four year limitations period for RICO claims). That circumstance being
apparent from the face of plaintiffs’ complaint, the Court concludes movant Robinson’s
motion to dismiss is well taken. The conclusion that the applicable limitations period has run
is equally applicable to the other defendants

Accordingly, defendant Robinson’s motion to dismiss is GRANTED and the case is
DISMISSED in its entirety. This ruling MOOTS the motion to dismiss filed by defendants

Harold Holden, H. Scott Holden, Holden Energy Corp, Environmental Thermal Systems,

 

‘SRacketeer lnfluenced and Corrupt Organizations Act_, 18 U.S. C. §§ l 96]`-] 968.

6To the extent the plaintith is asserting claims for negligence or fraud, they, too, are untimely
under the applicable two year statute of limitations 12 Okla. Stat. § 95( 3 ).

lWhitney is an unpublished decision cited for persuasive value only under lOth C`ir. R.
36.3(3)_

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lnc., Safe-Tire Disposal Corp., Recycled Energy Co., Recycled Energy Power Corp., Larry
Fenton, and Jean Toothman and the motion to dismiss filed by Tom Walker, 'Charles Roberts,
Gary Henry, Dennis Gay and Phil Stambeck.“

IT IS SO ORDERE,`D.

Dated this jzj“ day of May, 2003.

E l-lE TON
ITE STATES DlSTRlCT JUDGE

 

 

'HMr. Stambeck 's name is incorrectly spelled in the caption as "Stanbeck. "

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